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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

R. ALEXANDER ACOSTA,
SECRETARY OF LABOR, x
Plaintiff,
y. a Case No. RDB-18-1290

WH ADMINISTRATORS, INC., et al.,

*

Defendants. — *

* ¥ * x * * * * * # * * *
ORDER

For the reasons stated in the foregoing Memorandum Opinion, it is HEREBY

ORDERED this 26th day of Match, 2020 that:

1.

Defendants’ Motion for Extension of Time (ECF No. 48) is DENIED AS
MOOT; ,

Plaintiff's Motion for Summaty Judgment (ECF No. 38) is GRANTED;
JUDGMENT IS ENTERED in favor of Plaintiff;

Defendants shall restore to the WHA Plans all losses the Plans have incurred as
a result of their violations of ERISA, in the amount of $28,650,604.00;

Defendants shall disgorge profits in the amount of $397,189.00 from
impermissible commissions;

WH Administrators, Inc., Brendan Turner, and Susanne Sheil are permanently
enjoined, individually and collectively, from advertising, promoting, offering,
selling, or establishing, directly or indirectly, any welfare plan, as defined under
29 U.S.C. § 1002(1) and 29 C.F.R. § 2510.3-1;
. \

WH Administrators, Inc., Brendan Turner, and Susanne Sheil are permanently
enjoined, individually and collectively, from acting, serving, holding any
position, or performing any duties as a welfare plan administrator, as defined
under 29 U.S.C. § 1002(16)(A), ot a welfare plan fiduciary, as defined under 29
U.S.C. § 1002(21)(A) or 29 U.S.C. § 1102); .

 

 
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8. This Court retains jurisdiction of this action for purposes of enforcing
compliance with the terms of this Order;

9. The Clerk of this Court shall CLOSE THIS CASE; and

10. The Clerk of the Court shall transmit a copy of this Order and accompanying
Memorandum Opinion to Plaintiffs counsel and to Defendants at the following
addresses:

WH Administrators, Inc.
2 Bethesda Metro Center, Suite 450
Bethesda, Maryland 20814

Brendan Turner & Susanne Sheil
1931 Biltmore Street, Northwest
Washington, D.C. 20009

D.

Richard D. Bennett
United States District Judge
